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                Exhibit 1
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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   PUBLIC HEALTH AND MEDICAL
   PROFESSIONALS FOR TRANSPARENCY,
   ET AL.,

        Plaintiffs,

   v.                                                 No. 4:22-cv-0915-P

   FOOD AND DRUG ADMINISTRATION,

        Defendant.
                                    ORDER
      In May 2023, the Court ordered the Food and Drug Administration
   (“FDA”) to produce all documents related to the approval of Pfizer’s 12
   to 15-year-olds COVID-19 vaccine and Moderna’s adult COVID-19
   vaccine by June 30, 2025. The Court also ordered the Parties to meet
   and confer about a mutually acceptable production schedule of those
   documents—roughly 4.5 million documents in total. But the Parties
   failed to agree on a production schedule and submitted dueling
   schedules for this Court’s consideration. Having considered the Parties
   proposed production schedules, arguments in support, and applicable
   law, the Court ORDERS the following:

        1. The FDA must produce all documents related to Pfizer’s 12 to 15-
           year-olds COVID-19 vaccine by January 2, 2024, on a rolling
           basis at a rate no fewer than (1) 35,000 pages per month in July,
           August, and September 2023, (2) 55,000 pages per month in
           October and November 2023, and (3) 180,000 pages per month
           thereafter.
        2. The FDA must produce all documents related to Moderna’s adult
           COVID-19 vaccine by June 30, 2025, at a rate no less than 75,000
           pages per month in January 2024 and 180,000 pages per month
           thereafter.
        3. The FDA’s rolling productions are due on the first business day of
           each month.
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      4. The FDA can “bank” any processed pages it produces in excess of
         its monthly quota.
      5. If the FDA asserts any privilege, exemption, or exclusion as to
         any responsive record or portion of it, the FDA must—concurrent
         with each production required by this Order—produce a redacted
         version of the record, redacting only those portions to which the
         privilege, exemption, or exclusion is asserted.
      6. The Parties must submit a Joint Status Report detailing the
         progress of the rolling production by September 1, 2023, and
         every 90 days thereafter.
   The chart below illustrates the minimum rate of production for the two
   vaccines mentioned above and Pfizer’s 16+ COVID-19 vaccine 1 based on
   the expected number of documents set to be produced:

                     Minimum # of Documents to be Produced

                        Pfizer’s        Pfizer’s       Moderna’s
                          16+            12-15           Adult            Total
                        Vaccine         Vaccine         Vaccine
    July 3, 2023         55,000          35,000              0            90,000
    Aug. 1, 2023         55,000          35,000              0            90,000
    Sept. 1, 2023        55,000          35,000              0            90,000
     Oct. 2, 2023        55,000          55,000              0           110,000
    Nov. 1, 2023         55,000          55,000              0           110,000
    Dec. 1, 2023            02           180,000             0           180,000
    Jan. 2, 2024            0            105,000 3       75,000          180,000
    Feb. 1, 2024            0                0           180,000         180,000
    1st business
    day of every            0                0           180,000         180,000
    month
    thereafter


      1 See Pub. Health & Med. Pros. for Transparency v. FDA, No. 4:21-CV-1058-P, 2022

   WL 90237 (N.D. Tex. Jan. 6, 2022) (Pittman, J.).
       2 This assumes that all documents related to Pfizer’s 16+ vaccine have been

   produced. If not, the FDA must continue to produce at least 55,000 pages per month
   until completion.
       3 This number reflects the expected number of documents remaining at that time.

   All documents—regardless of the actual number remaining at that time—must be
   produced by January 2, 2024.

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      SO ORDERED on this 12th day of June 2023.




                Mark T. Pittman
                UNITED STATES DISTRICT JUDGE




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